

People v Hines (2018 NY Slip Op 00580)





People v Hines


2018 NY Slip Op 00580


Decided on February 1, 2018


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 1, 2018

108459

[*1]THE PEOPLE OF THE STATE OF NEW YORK, Respondent,
vWILLIE EARL HINES, Appellant.

Calendar Date: December 13, 2017

Before: Garry, P.J., McCarthy, Mulvey, Aarons and Rumsey, JJ.


Craig Meyerson, Peru, for appellant.
P. David Soares, District Attorney, Albany (Christopher D. Horn of counsel), for respondent.



MEMORANDUM AND ORDER
Appeal from a judgment of the County Court of Albany County (Lynch, J.), rendered April 28, 2016, convicting defendant upon his plea of guilty of the crime of attempted criminal sale of a controlled substance in the third degree.
In satisfaction of a two-count indictment, defendant pleaded guilty to the reduced charge of attempted criminal sale of a controlled substance in the third degree and waived his right to appeal. County Court sentenced defendant as a second felony offender, in accordance with the plea agreement, to a prison term of four years and three years of postrelease supervision. Defendant appeals.
Appellate counsel seeks to be relieved of his assignment of representing defendant on the ground that there are no nonfrivolous issues to be raised on appeal. Based upon our review of the record and counsel's brief, we agree. Therefore, the judgment is affirmed and counsel's request for leave to withdraw is granted (see People v Cruwys , 113 AD2d 979, 980 [1985], lv denied  67 NY2d 650 [1986]; see generally People v Stokes , 95 NY2d 633 [2001]).
Garry, P.J., McCarthy, Mulvey, Aarons and Rumsey, JJ., concur.
ORDERED that the judgment is affirmed, and application to be relieved of assignment granted.








